                19-23957-shl              Doc 1     Filed 11/06/19 Entered 11/06/19 16:10:01                             Main Document
                                                                  Pg 1 of 14                                                                     11/06/19 4:07PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MY2011 Grand LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  929 East 5th Street
                                  Brooklyn, NY 11211
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  227 Grand Street Brooklyn, NY 11211
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                 19-23957-shl            Doc 1           Filed 11/06/19 Entered 11/06/19 16:10:01                                   Main Document
                                                                       Pg 2 of 14                                                                      11/06/19 4:07PM

Debtor    MY2011 Grand LLC                                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          SOUTHERN DISTRICT
     separate list.                               District   OF NEW YORK                   When       2/21/19                    Case number   19-22285-rdd
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     S&B Monsey LLC                                                  Relationship            Affiliate
                                                             Southern District of
                                                  District   NY                            When      11/06/19                Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                19-23957-shl          Doc 1            Filed 11/06/19 Entered 11/06/19 16:10:01                              Main Document
                                                                     Pg 3 of 14                                                                          11/06/19 4:07PM

Debtor   MY2011 Grand LLC                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                       page 3
                 19-23957-shl            Doc 1     Filed 11/06/19 Entered 11/06/19 16:10:01                                 Main Document
                                                                 Pg 4 of 14                                                                         11/06/19 4:07PM

Debtor    MY2011 Grand LLC                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 6, 2019
                                                  MM / DD / YYYY

                                 /s/ David Goldwasser, authorized signatory of                            David Goldwasser, authorized signatory of
                             X   GC Realty Advisors                                                       GC Realty Advisors
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Vice President




18. Signature of attorney    X   /s/ Mark Frankel                                                          Date November 6, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Mark Frankel
                                 Printed name

                                 Backenroth Frankel & Krinsky, LLP
                                 Firm name

                                 800 Thrid Avenue
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 593-1100                Email address


                                 1989 NY
                                 Bar number and State




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                    19-23957-shl                Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                                     Main Document
                                                                             Pg 5 of 14                                                                                  11/06/19 4:07PM




 Fill in this information to identify the case:
 Debtor name MY2011 Grand LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF NEW                                                                                     Check if this is an
                                                YORK
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Akerman LLP                                                                                                                                                              $10,000.00
 666 Fifth Avenue,
 20th Floor
 New York, NY 10103
 B In Power Inc.                                                                                                                                                          $30,000.00
 199 Lee Ave
 Box 114
 Brooklyn, NY 11211
 Elyon Systems Inc.                                                                                                                                                         $5,000.00
 412 Sterling Street
 Brooklyn, NY 11225
 Karl Fisher,                                                                                                                                                             $50,000.00
 Architect
 242 West 30th Street
 Suite 1102
 New York, NY 10001
 NBE Plumbing                                                                                                                                                               $8,050.00
 2906 Shell Road
 Brooklyn, NY 11224




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01               Main Document
                                                                        Pg 6 of 14                                                     11/06/19 4:07PM


 Fill in this information to identify the case:

 Debtor name         MY2011 Grand LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                         Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                     Main Document
                                                                        Pg 7 of 14                                                          11/06/19 4:07PM



 Debtor         MY2011 Grand LLC                                                              Case number (If known)
                Name


        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Ownership interest in
                     Grand Living LLC II,
                     the Mezz Owner of
                     Grand Living LLC,
                     the Owner of the
                     property located at
                     227 Grand Street                     Equitable
                     Brooklyn, NY 11211                   interest                          $0.00                                    $12,800,000.00




 56.        Total of Part 9.                                                                                                       $12,800,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                    Main Document
                                                                        Pg 8 of 14                                                   11/06/19 4:07PM



 Debtor         MY2011 Grand LLC                                                             Case number (If known)
                Name



 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                              Best Case Bankruptcy
               19-23957-shl                   Doc 1            Filed 11/06/19 Entered 11/06/19 16:10:01                                           Main Document
                                                                             Pg 9 of 14                                                                                   11/06/19 4:07PM



 Debtor          MY2011 Grand LLC                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $12,800,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.           $12,800,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $12,800,000.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 4
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                                        Main Document
                                                                       Pg 10 of 14                                                                               11/06/19 4:07PM


 Fill in this information to identify the case:

 Debtor name         MY2011 Grand LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $10,000.00
           Akerman LLP                                                          Contingent
           666 Fifth Avenue, 20th Floor                                         Unliquidated
           New York, NY 10103                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $30,000.00
           B In Power Inc.                                                      Contingent
           199 Lee Ave                                                          Unliquidated
           Box 114                                                              Disputed
           Brooklyn, NY 11211
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,000.00
           Elyon Systems Inc.                                                   Contingent
           412 Sterling Street                                                  Unliquidated
           Brooklyn, NY 11225                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $50,000.00
           Karl Fisher, Architect                                               Contingent
           242 West 30th Street                                                 Unliquidated
           Suite 1102                                                           Disputed
           New York, NY 10001
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                         25692                                            Best Case Bankruptcy
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                                        Main Document
                                                                       Pg 11 of 14                                                                               11/06/19 4:07PM


 Debtor       MY2011 Grand LLC                                                                        Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,050.00
           NBE Plumbing                                                         Contingent
           2906 Shell Road                                                      Unliquidated
           Brooklyn, NY 11224                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       103,050.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          103,050.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
    19-23957-shl   Doc 1    Filed 11/06/19 Entered 11/06/19 16:10:01   Main Document
                                         Pg 12 of 14


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                           Internal Revenue Service
                           c/o US Attorney Claims Unit
                           One Saint Andrews Plaza Rm 417
                           New York, NY 10007


                           Office of The United States Trustee
                           U.S. Federal Office Building
                           201 Varick Street
                           Suite 1006
                           New York, NY 10014


                           United States of America
                           c/o U.S. Attorney
                           86 Chambers Street
                           New York, NY 10007


                           NYS Dept of Tax & Finance
                           Bankruptcy Unit
                           PO Box 5300
                           Albany, NY 12205


                           State of New York
                           Attorney General's Office
                           120 Broadway
                           New York, NY 10271


                           City of New York
                           NYC Law Department
                           100 Church St
                           New York, NY 10007


                           NYC Department of Finance
                           66 John Street
                           New York, NY 10038


                           Backenroth Frankel & Krinsky
                           800 Third Avenue
                           11th Floor
                           New York, NY 10022


                           227   GRAND STREET MEZZ LENDER LLC
                           207   West 25th Street
                           9th   Street
                           New   York, NY 10001
19-23957-shl   Doc 1    Filed 11/06/19 Entered 11/06/19 16:10:01   Main Document
                                     Pg 13 of 14



                       Akerman LLP
                       666 Fifth Avenue, 20th Floor
                       New York, NY 10103


                       B In Power Inc.
                       199 Lee Ave
                       Box 114
                       Brooklyn, NY 11211


                       Elyon Systems Inc.
                       412 Sterling Street
                       Brooklyn, NY 11225


                       Karl Fisher, Architect
                       242 West 30th Street
                       Suite 1102
                       New York, NY 10001


                       NBE Plumbing
                       2906 Shell Road
                       Brooklyn, NY 11224


                       Santander Bank
              19-23957-shl                 Doc 1          Filed 11/06/19 Entered 11/06/19 16:10:01                   Main Document
                                                                       Pg 14 of 14                                                  11/06/19 4:07PM




                                                               United States Bankruptcy Court
                                                                     Southern District of New York
 In re      MY2011 Grand LLC                                                                              Case No.
                                                                                   Debtor(s)              Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MY2011 Grand LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 November 6, 2019                                                     /s/ Mark Frankel
 Date                                                                 Mark Frankel
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for MY2011 Grand LLC
                                                                      Backenroth Frankel & Krinsky, LLP
                                                                      800 Thrid Avenue
                                                                      New York, NY 10022
                                                                      (212) 593-1100 Fax:(212) 644-0544




Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
